                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION
_____________________________________________________________________


Appvion, Inc. Retirement Savings and
Employee Stock Ownership Plan,

                     Plaintiff,

       v.                                                       Case No. 18cv1861

Buth et al.

                Defendants.
_____________________________________________________________________

                       DISCLOSURE STATEMENT
_____________________________________________________________________

       The undersigned, counsel of record for the above Plaintiffs, furnishes the following

list in compliance with General Local Rule 7.1:

        (a)(1) The following is a list of every party represented by the undersigned counsel
in this matter:

        Appvion Inc. Retirement Savings and Employee Stock Ownership Plan,
                     by and through Grant Lyon in his capacity as
                   the ESOP Administrative Committee of Appvion

       (a)(2) No party listed above is a corporation.

       (a)(3) The following is a list of all law firms whose partners or associates appear
for a party or are expected to appear for a party in this Court:

                                     Beus & Gilbert PLLC
                                  The Previant Law Firm, S.C.




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Dated this 27th day of November, 2018.

                                s/Sara J. Geenen
                                Sara J. Geenen (SBN: 1052748)
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